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Gianna Nicole Maita-Edwards
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RELEVANT SKILLS: Policy analysis, Co-design, Qualitative and quantitative data analysis,
Methodology, Survey development, Writing and editing, Project management, Facilitation, Public speaking

PROFICIENT IN: Microsoft Office, SPSS, ArcGIS Online, OpenRefine, Tableau, R, Mailchimp, Drupal

RELEVANT EXPERIENCE

Violence Prevention through Urban Upgrading (VPUU NPC), Research and Data Analysis Manager

Cape Town, January 2019 — Present

» 2020/21 GIZ SPRINT Laboratory Project Lead: conduct mixed-methods situational analysis of 4 sites
across South Africa; facilitate virtual trainings for municipal officials

= 2019/20 Project/events manager, researcher, and content writer on mixed methods knowledge
management project within the South African-German Development Cooperation (through GIZ)

« Developed a “co-design simulation” as a training tool for government officials designing of violence
prevention programs in a multi-sectoral and community-based approach

« Informal Settlements Support Programme (ISSP): data analysis, report-writing and recommendations
framework

« Drive organizational learning: reflection tools, tracking lessons learnt and ensuring follow-up actions

« Strategize ongoing development/adaptation of Quality of Life Index for SA informal settlements

* Develop project-based Monitoring, Evaluation & Learning frameworks

DPV Homeless Outreach, Volunteer (surveys, data analysis, writing) for an initiative in my neighborhood
Cape Town, 2020 — Present

Being Black: A South African Story That Matters by Theo Mayekiso, Book Editor
Cape Town, 2020

Open Streets, Survey Volunteer and Survey Data Analyst
Cape Town, 2017-2019

ALPS Resilience, Cape Town,
International Research Consultant (Part-time), February — July 2019
Grant Writing Consultant, July 2018 — January 2019

Lushomo, Research and Communications Assistant

Cape Town, October 2017 — June 2018

« Created reports, data visualizations and infographics for World Health Organization projects
« Involved writing, editing, liaising with designers, creative brainstorming and data analysis

Department of Political Studies, Tutor/Teaching Assistant
University of Cape Town, Cape Town, February 2016 — July 2017
« Courses: Comparative Politics, Foreign Policy Analysis, Intro to Politics B, Intro to Politics B PLUS

Center for Social Justice Research, Teaching & Service, Interim Program Assistant, Immersion Programs

Georgetown University, Washington, DC, July 2015 — December 2015

« Supported student leaders in Georgetown University’s Alternative Breaks Programs and First-Year
Orientation to Community Involvement (FOCI)

N Street Village, Advocate |
Washington, DC, May 2015 — September 2015
« Provided supportive services to women living with HIV/AIDS in transitional housing

Center for Contemporary Arab Studies, Assisted with research on MENA regional education inequalities
Georgetown University, January 2015 — May 2015
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EDUCATION

University of Cape Town, Cape Town, South Africa
Masters of Philosophy by coursework and dissertation in Justice & Transformation;
Graduated December 2018, second class (Division 1)

Georgetown University, Georgetown College, Washington, DC
Bachelor of Arts in Justice and Peace Studies (concentration in Social Development), Minor: Arabic
Graduated May 2015 with GPA 3.904/4.0, summa cum laude

Stellenbosch University, Stellenbosch, Western Cape Province, South Africa
Sustainability & Community Study Abroad Program; January — June 2014

RESEARCH AND PUBLICATIONS

GIZ-VCP and VPUU NPC, eds. (2020). Guide to Designing Integrated Violence Prevention Interventions.
« Showcased at the World Forum on Cities and Territories for Peace and the Urban Festival 2020

The Experiential Effects of Gentrification in Woodstock, Cape Town, Minor Dissertation for MPhil

University of Cape Town. Supervisor: Dr. Lwazi Lushaba. Completed in February 2018, unpublished.

» Presented research at the 2017 Human Development and Capabilities Association (HDCA) Conference
and the 2018 African Centre for Cities Conference.

Segregation, Social Cohesion, and the DC Streetcar, Senior Capstone Thesis, Justice & Peace Studies

Georgetown University. Thesis Mentor: Dr. Andria Wisler. Completed in 2015, unpublished.

« Presented research at the 2015 Georgetown Undergraduate Research Symposium and the 2015 HDCA
Conference in Washington, DC.

Maita, G. (2015). Student Engagement in Social Justice at the Universidad Centroamericana. Current Issues

in Comparative Education, \7(\).

« 2014 Education and Social Justice Project Fellow, Berkley Center for Religion, Peace & World Affairs

« Conducted, translated and transcribed 18 interviews with Spanish-speaking students and faculty at the
Universidad Centroamericana in Managua, Nicaragua

= Presented at the 2015 JUHAN Conference at John Carroll University.

AWARDS & HONORS

Faculty International Student Bursary, UCT Humanities Faculty, 2016 and 2017

Homecoming Humanitarian Award, Students of Georgetown, Inc., 2014

Phi Beta Kappa, Georgetown University, 2015

McSorley Award in Justice and Peace Studies, Georgetown University Program on Justice and Peace, 2015

LANGUAGES
English Native Speaker MS Arabic Limited Working Proficiency
Spanish Professional Working Proficiency Afrikaans Elementary Proficiency

French — Limited Working Proficiency Italian Elementary Proficiency
